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               Deputy Clerk                  Court Reporter/Recorder                      Assistant U.S. Attorney


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         Cause is called for hearing and counsel make their appearances. Court and counsel confer re:
 travel restrictions. The Court modifies defendant's travel restrictions as follows: Travel restricted to the
 Southern District of New York, the Eastern District of New York, the Southern District of Florida,
 and the Central District of California, with domestic travel to other locations permitted with at least
 two business days' notice to Pretrial Services prior to travel to such other location(s). International
 travel requires prior Court permission. All other conditions remain unchanged and in effect.


           IT IS SO ORDERED.




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